                     Case 2:07-cr-00524-GEB Document 52 Filed 12/30/11 Page 1 of 3
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
            ANDREW EVAN WILSON
                      (Defendant’s Name)                                  Criminal Number: 2:07CR00524-02


                                                                          Dennis Waks
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1 & 2; 1 through 4 as alleged in the violation petition filed on 7/12/11 &
    10/20/11 .
[]  was found in violation of condition(s) of supervision as to charge(s)     after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 2/15/08 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[U]      Charges 5 & 6 of the petition filed 10/20/11are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall rem ain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 12/9/11
                                                                 Date of Im position of Sentence




                                                                 S ignature of Judicial O fficer



                                                                 GARLAND E. BURRELL, JR., United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 12/27/11
                                                                 Date
                     Case 2:07-cr-00524-GEB Document 52 Filed 12/30/11 Page 2 of 3
AO 245D-CAED (Rev. 3/04) Judgment in a Criminal Case for Revocation Sheet I
CASE NUMBER:                2:07CR00524-02                                                           Judgment - Page 2 of 3
DEFENDANT:                  ANDREW EVAN W ILSON

                                                       ADDITIONAL VIOLATION
                                                                                  Date Violation
Violation Num ber                    Nature of Violation                          Concluded

1                                    Unlawful Use of a Controlled Substance       4/11/11; 6/14/11

2                                    Failure to Participate in an Inpatient       6/12/11
                                     Correctional Treatm ent Program as
                                     Directed

1                                    New Law Violation                            7/17/11

2                                    New Law Violation                            10/1/11

3                                    Failure to Notify Probation Officer of       10/1/11
                                     Change in Residence

4                                    Failure to Notify Probation Officer of Law   7/17/11; 10/1/11
                    Case 2:07-cr-00524-GEB Document 52 Filed 12/30/11 Page 3 of 3
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:07CR00524-02                                                                 Judgment - Page 3 of 3
DEFENDANT:                 ANDREW EVAN W ILSON



                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of 12 m onths .




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated in a California facility, but only insofar as this accords
         with security classification and space availability.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
